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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


 ROBYN KRAVITZ, et al.,

                     Plaintiffs,

           v.                                            No. 8:18-cv-1041-GJH

 U.S. DEPARTMENT OF COMMERCE,
 et al.,

                     Defendants.



 LA UNIÓN DEL PUEBLO ENTERO,
 et al.,

                     Plaintiffs,

           v.                                            No. 8:18-cv-1570-GJH

 WILBUR L. ROSS, in his official capacity as
 Secretary of Commerce, et al.,

                     Defendants.


   DEFENDANTS’ REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’
 AMENDED MOTION FOR LEAVE TO WITHDRAW APPEARANCE OF COUNSEL

        Defendants respectfully submit this reply to Plaintiffs’ response to Defendants’ amended

motion for leave to withdraw appearance of counsel. Plaintiffs contend that Defendants have failed

to identify any justification for withdrawal and express concern that withdrawal will prejudice them.

ECF No. 193 at 1-2. Neither contention has merit.

        First, the Attorney General has the statutory authority to send “any officer of the

Department of Justice . . . to any State or district in the United States to attend to the interests of the

United States . . . . .” 28 U.S.C. § 517; see also 28 U.S.C. § 519 (“Except as otherwise authorized by



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law, the Attorney General shall supervise all litigation to which the United States, an agency, or

officer thereof is a party, and shall direct all United States attorneys, assistant United States

attorneys, and special attorneys appointed under section 543 of this title in the discharge of their

respective duties.”). Given this broad authority and the fact that the Civil Division of the

Department of Justice continues to represent the Defendants (and new attorneys already have

entered their appearances), Plaintiffs’ suggestion that Defendants have failed to satisfy Local Rule

101(2)(b) is misplaced.

        Plaintiffs’ concerns about potential prejudice are equally meritless.         The Civil Division

continues to handle this matter, and new attorneys that have been assigned are entering appearances

and already have begun working on the case. Accordingly, the staffing change the Department has

made will not affect the posture of the case or cause any disruption in this matter. Defendants do not

anticipate seeking any extensions based on the substitution of new counsel, will diligently work to

ensure that the substitution of counsel does not prejudice plaintiffs in any way, and intend to respond

to Plaintiffs’ discovery on the Court-ordered schedule.




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DATED: July 10, 2019               Respectfully submitted,

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                                   Assistant Attorney General

                                   DAVID M. MORRELL
                                   Deputy Assistant Attorney General

                                   /s/ Glenn M. Girdharry
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